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                                 CERTIFICATE OF SERVICE

       I, Elihu E. Allinson III, do hereby certify I am not less than 18 years of age and that on

this 19th day of April 2013, I caused copies of the Wilmington Trust Company’s Omnibus Reply

to (A) Reorganized Debtors’ Objection and (B) United States Trustee’s Objection to Wilmington

Trust Company’s Application for Allowance of Claim Under 11 U.S.C. §§ 503(b)(3)(D) and

503(b)(4) to be served upon the parties listed below via first class U.S. mail, postage-prepaid.

David Buchbinder, Esq.                             Norman L. Pernick, Esq.
Office of the United States Trustee                J. Kate Stickles, Esq.
J. Caleb Boggs Federal Building                    Cole, Schotz, Meisel, Forman & Leonard, P.A.
844 King Street, Suite 2207                        500 Delaware Avenue, Suite 1410
Lockbox #35                                        Wilmington, DE 19801
Wilmington, DE 19899-0035
                                                   John F. Theil, Esq.
James F. Conlan, Esq.                              Stuart Maue
Kenneth P. Kansa, Esq.                             3840 McKelvey Road
Jillian K. Ludwig, Esq.                            St. Louis, MO 63044
Sidley Austin LLP
One South Dearborn Street
Chicago, IL 60603




April 19, 2013                                               /s/ E.E. Allinson III
Date                                                         Elihu E. Allinson III
